Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 1 of 7




                 Exhibit 3
        Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 2 of 7




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

      MICHELLE MARINO, DEBORAH                          CASE NO.:
      ESPARZA, MONICA RAEL, and                         1:16-cv-01122-VEC (OTW) (Lead)
      CERA HINKEY, on behalf of
      themselves and all others similarly               Consolidated Member Case Nos.:
      situated,                                         1:16-cv-03773-VEC (OTW)
                                                        1:16-cv-03677-VEC (OTW)
                      Plaintiffs,                       1:16-cv-05320-VEC (OTW)

        v.

      COACH, INC.,



                            DECLARATION OF ANDREA R. GOLD

        I, Andrea R. Gold, declare as follows:

        1.      I am one of the counsel for the Plaintiffs in this case. I submit this affidavit in

support of Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement.

        2.      The facts contained in this Affidavit are within my personal knowledge, and I could

testify to those facts if called to do so under oath.

        3.      I was first admitted to practice law in 2004 in Illinois. (Bar No. 6282969). I was

also admitted in Washington, D.C. in 2007 (Bar No. 502607), and Maryland in 2013 (Registration

No. 201306100006). I have been admitted pro hac vice in this matter.

        4.      I am a graduate of University of Michigan Law School (J.D., 2004) and University

of Michigan Business School (B.B.A., 2001).

        5.      I have been in private practice since 2006, and a large portion of my practice has

involved litigation on behalf of consumers, representing individuals and classes injured by

predatory banking practices, unlawful insurance practices, violations of the Telephone Consumer

Protection Act, and other unfair and deceptive business practices.




                                                   1
        Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 3 of 7




       6.      Over the past fourteen years, I have gained substantial experience handling

complex civil litigation and class action litigation. With co-counsel, I have taken two cases to trial,

including jury trials that have lasted several months.

       7.      I was lead counsel from Tycko & Zavareei in this case. As reflected below, my time

accounts for 83.5% of our firm’s time billed to this matter.

       8.      I have been named Class Counsel or Settlement Class Counsel in class actions

including Jacobs v. FirstMerit Corporation, et. al., No. 11 CV000090 (Ct. Common Pleas, Lake

County, Ohio), Maria Vergara v. Uber Technologies, Inc., No. 1:15-CV-06942 (N.D. Ill.), Szafarz

v. United Parcel Service, Inc., No. SUCV2016-2094-BLS2 (Superior Court, Commonwealth of

Massachusetts), Jenna Lloyd, et al. v. Navy Federal Credit Union, Case No. 3:17-cv-01280 (S.D.

Cal.); and Harris v. Farmers Insurance, No. BC579498 (Super. Ct. State of CA). The Jacobs

litigation resulted in a $15,975,000 settlement that has received final approval. The litigation

against Uber Technologies, Inc. resulted in a $20 million settlement that has been finally approved.

The litigation against UPS resulted in a $995,000 settlement that has been finally approved. The

Lloyd litigation resulted in a $24.5 settlement that has received final approval. The Harris

litigation resulted in a $15 million settlement that has received final approval.

        9.      Tycko & Zavareei has also been named Class Counsel, Lead Counsel, or

Settlement Class Counsel in consumer class actions styled Shannon Schulte, et al. v. Fifth Third

Bank, No. 1:09-cv-06655 (N.D. Ill.); Kelly Mathena v. Webster Bank, No. 3:10-cv-01448 (D.

Conn.); Nick Allen, et al. v. UMB Bank, N.A., et al., No. 1016 Civ. 34791 (Cir. Ct. Jackson County,

Mo.); Thomas Casto, et al. v. City National Bank, N.A., No. 10 Civ. 01089 (Cir. Ct. Kanawha

County, W. Va.); Eaton v. Bank of Oklahoma, N.A., and BOK Financial Corporation, d/b/a Bank

of Oklahoma, N.A., No. CJ-2010-5209 (Dist. Ct. for Tulsa County, Okla.); Lodley and Tehani

Taulva, et al., v. Bank of Hawaii and Doe Defendants 1-50, No. 11-1-0337-02 (Cir. Ct. of 1st Cir.,

Haw.); Jessica Duval, et al. v. Citizens Financial Group, Inc., et al, No. 1:10-cv-21080 (S.D. Fla.);

Mascaro, et al. v. TD Bank, Inc., No. 10-cv-21117 (S.D. Fla.); Theresa Molina, et al., v. Intrust

Bank, N.A., No. 10-cv-3686 (18th Judicial Dist., Dist. Ct. Sedgwick County, Kan.); Trombley v.

                                                  2
        Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 4 of 7




National City Bank, No. 1:10-cv-00232-JDB (D.D.C.); Jonathan Jones, et al. v. United Bank and

United Bankshares, Inc., No. 11-C-50 (Cir. Ct. of Jackson County, W. Va.); Amber Hawthorne, et

al. v. Umpqua Bank, No. 4:11-cv-06700 (N.D. Cal.); Sylvia Hawkins, et al. v. First Tennessee

Bank, N.A., No. CT-004085-11 (Cir. Ct. of Shelby County, Tenn.); Jane Simpson, et al. v. Citizens

Bank, et al., No. 2:12-cv-10267 (E.D. Mich.); Alfonse Forgione, et al. v. Webster Bank, N.A., No.

UWY-CV12-6015956-S (Super. Ct. Judicial Dist. of Waterbury, Conn.); Sherry Bodnar v. Bank

of America, N.A., No. 5:14-cv-03224-EGS (E.D. Pa.); Wong v. TrueBeginnings LLC d/b/a

True.com, No. 3-07 Civ. 1244-N (N.D. Tex.); Geis v. Airborne Health, et. al., Civil Action No.

2:07 Civ. 4238-KSH-PS (D. N.J.); Dennings, et al. v. Clearwire Corporation, No. 2:10-cv-01859

(W.D. Wash.); In Re: Higher One Oneaccount Marketing And Sales Practices Litigation, No.

3:12-md-02407 (D. Conn.); Galdamez v. I.Q. Data International, Inc., No. 15-cv-1605 (E.D. Va.);

Brown v. Transurban USA, No. 15-cv-494 (E.D. Va.); Gatinella et al. v. Michael Kors (USA), No.

14-cv-5731 (S.D.N.Y); Grayson, et al. v. General Electric Company, 3:13-cv-1799 (D. Conn.);

Farrell, et al. v. Bank of America, N.A., No. 3:16-00492 (S.D. Cal.); In re: APA Assessment Fee

Litigation, 1:10-cv-01780 (D.D.C.); Griffith v. ContextMedia Health, LLC d/b/a Outcome Health,

No. 1:16-cv-02900 (N.D. Ill.); Scott, et al. v. JPMorgan Chase & Co., No. 17-cv-249 (D.D.C.); In

re Think Finance, LLC, et al., No. 17-bk-33964 (Bankr. N.D. Tex.); Gibbs v. Plain Green, LLC,

No. 3:17-cv-495 (E.D. Va.); Meta v. Target Corp., et al., No. 14-cv-0832 (N.D. Ohio); Petit v.

Procter & Gamble Co., No. 15-cv-02150 (N.D. Cal.); Kumar v. Safeway, Inc. et al., RG14726707

(Super. Ct. of Cal. Cty. of Alameda); Kumar v. Salov North America Corp., et al., 4:14-cv-02411

(N.D. Cal.); and Koller v. Deoleo USA, Inc., Case No. 3:14-CV-02400-RS (N.D. Cal.); Stathakos

et al. v. Columbia Sportswear Co., No. 1:16-cv-04543 (N.D. Cal.); Robinson v. First Hawaiian

Bank, No. 17-1-0167-01 (Cir. Ct. of 1st Cir., Haw.); Hughes v Autozone Parts, Inc., No. BC63-l-

080 (Super. Ct. State of CA); Harris v. Farmers Insurance, No. BC579498 (Super. Ct. State of

CA); Harkey v. General Electric Company, No. 3:13-cv-01799 (D. Conn.); Each of these actions

has resulted in a settlement that has been finally approved.



                                                 3
        Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 5 of 7




        10.    Jeffrey Kaliel is a former partner in the Firm and is a 2005 graduate of Yale Law

School. Mr. Kaliel worked briefly on this matter. He is licensed in several state and federal courts

around the country and has been appointed class counsel in numerous class actions.

        11.    A former fellow at my office, Rebecca Azhdam, also worked on this case. Ms.

Azhdam graduated from Columbia Law School in 2017. Prior to that, Ms. Azhdam graduated

from Johns Hopkins University in 2011. Ms. Azhdam is admitted to practice in New York (Bar

No. 5639034) and the District of Columbia.

 Name                 Position           Total Hours         Adjusted Rate       Lodestar

 Andrea Gold          Partner            78.90               $759                $59,885.10
 Jeffrey Kaliel       Fmr. Partner       5.00                $759                $3,795.00
 Rebecca Azhdam       Fmr. Fellow        11.90               $465                $5,533.50
 Matthew Folkerts     Fmr. Paralegal     5.60                $206                $1,153.60
 Maura Dunn           Fmr. Paralegal     4.00                $206                $824
 Melat Kiros          Fmr. Paralegal     .40                 $206                $82.40
 Nathan Laporte       Fmr. Paralegal     1.90                $206                $391.40



 TOTAL                                   102.70                                  $71,665


        11.    The above chart was prepared from contemporaneous detailed daily time records

regularly prepared and maintained by Tycko & Zavareei utilizing timekeeping software to which

all employees have access. In my opinion, the time spent by attorneys and staff of Tycko &

Zavareei was reasonable and necessary. Indeed, by prosecuting this case purely on a contingency

basis and not being paid by the hour, Tycko & Zavareei attorneys and staff worked efficiently and

avoided unnecessary work. The detailed time and expense entries are available to the Court en

camera upon request.
      12.    Tycko & Zavareei incurred $687.67 in unreimbursed case-related expenses,

including expenses related to filing, travel, copying, and case administration. Expenses are

accounted for and billed separately and are not duplicated in my firm’s professional billing rate.

                                                  4
        Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 6 of 7




TZ has not received reimbursement for expenses incurred in connection with this litigation. The

actual expenses incurred in the prosecution of this case is reflected on the computerized accounting

records of my firm prepared by bookkeeping staff, based on receipts and check records, and

accurately reflect all actual expenses incurred. These expenses were necessary to prosecuting

litigation of this size and complexity on behalf of the Settlement Class, and they are typical of

expenses regularly awarded in large-scale class actions. Indeed, because Tycko & Zavareei was

responsible for advancing all expenses incurred, Tycko & Zavareei had a strong incentive not to

spend any funds unnecessarily.

       13.     The hourly rates are based on the typical hourly rates for lawyers of similar

experience in the communities in which Class Counsel practice.

       14.     The hourly rates shown for the attorneys at Tycko & Zavareei are our 2020-2021

rates charged as delineated by the Adjusted Laffey Matrix (http://www.laffeymatrix.com/), which

provides market rates for attorneys working in the Washington, D.C. area. See, e.g., DL v. Dist. of

Columbia, 924 F.3d 585 (D.C. Cir. 2019) (discussing the history and basis of the Laffey matrix).

Although the Adjusted Laffey Matrix is updated annually, courts have awarded attorneys’ fees

consistent with the Adjusted Laffey Matrix to my firm in a number of cases. See, e.g., Kumar v.

Salov North America Corp., No. 14-CV-2411-YGR, 2017 WL 2902898 (N.D. Cal. July 7, 2017);

Stathakos v. Columbia Sportswear Co., No. 15-CV-04543-YGR, 2018 WL 1710075, at *6 (N.D.

Cal. Apr. 9, 2018); Meta v. Target Corp., et al., No. 14-cv-0832 (N.D. Ohio Aug. 7, 2018), Dkt.

179; In re Think Finance, LLC, et al., No. 17-bk-33964 (Bankr. N.D. Tex.); Brown v. Transurban

USA, Inc., No. 1:15CV494 (JCC/MSN), 2016 WL 6909683 (E.D. Va. Sept. 29, 2016); Small v.

BOKF, N.A., No. 1:13-cv-01125-REB-MJW (D. Colo.); Soule v. Hilton Worldwide, Inc., No. CV

13-00652 ACK-RLP, 2015 WL 12827769 (D. Haw. Aug. 25, 2015); Beck v. Test Masters Educ.



                                                 5
       Case 1:16-cv-01122-VEC Document 147-4 Filed 01/11/21 Page 7 of 7




Servs., Inc., 73 F. Supp. 3d 12 (D.D.C. 2014); see also Mancini v. Dan P. Plute, Inc., 358 F. App’x

886 (9th Cir. 2009) (accepting Adjusted Laffey Matrix as evidence of reasonable hourly rates

charged by Washington, D.C. attorneys).



         Executed at Kensington, Maryland this 11th day of January 2021.




                                                                Andrea R. Gold, Esq.




                                                6
